        Case 1:19-cr-00127-DLC Document 39 Filed 01/03/20 Page 1 of 1
                                                                               FILED
                 IN THE UNITED STATES DISTRICT COURT                           JAN 03 ?.ViO
                     FOR THE DISTRICT OF MONTANA                               Clerk, U.S Courts
                           BILLINGS DIVISION                                   District Of Montana
                                                                                Missoula Division




 UNITED STATES OF AMERICA,                               CR 19-127-BLG-DLC

                      Plaintiff,

        vs.                                                    ORDER

 CHRISTINA NICOLE DEHARO, and
 SEAN CRAIG RAYFIELD,

                      Defendants.


      The United States has filed an Unopposed Motion for Dismissal of

Forfeiture Proceedings. (Doc. 37.) The United States does so because the firearm

and ammunition at issue have already been administratively forfeited. (Id. at 2.)

Finding good cause,

      IT IS ORDERED that the forfeiture action in the above-captioned case is

DISMISSED with prejudice.

      DATED this 3-rJ. day of January, 2020.




                                   Dana L. Christensen, Chief District Judge
                                   United States District Court



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